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  9
 10                        UNITED STATES DISTRICT COURT
 11                       CENTRAL DISTRICT OF CALIFORNIA
 12
    JOHN BURNELL, GILBERT                     Case No. EDCV10-00809-VAP (OPx)
 13 SAUCILLO, and all others similarly
    situated,                                 MEMORANDUM OF POINTS AND
 14                                           AUTHORITIES IN SUPPORT OF
                   Plaintiffs,                DEFENDANT SWIFT
 15                                           TRANSPORTATION CO. OF
           v.                                 ARIZONA, LLC’S MOTION FOR
 16                                           JUDGMENT ON THE PLEADINGS
    SWIFT TRANSPORTATION CO., OF              AS TO MINIMUM WAGE – FAAAA
 17 ARIZONA LLC,                              PREEMPTION
 18                      Defendant.           The Hon. Virginia A. Phillips
 19                                           Hearing Date:         March 17, 2014
                                              Time:                 2:00 PM
 20                                           Courtroom:            2
 21
                                              Complaint Filed:      March 22, 2010
 22                                           Trial Date:           None Set
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 24
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      SMRH:410444033.4                    MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF
                                             DEFT’S MOTION FOR JUDGMENT ON THE PLEADINGS-
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  1                                  I.    INTRODUCTION
  2           Defendant Swift Transportation Co. of Arizona, LLC (“Swift” or
  3 “Defendant”) seeks judgment on the pleadings regarding Plaintiffs’ first cause of
  4 action for alleged minimum wage violations because that claim is preempted by the
  5 Federal Aviation Administration Authorization Act of 1994 (“FAAAA”) as a matter
  6 of law. The same issue was recently decided by the Central District of California in
  7 Burnham v. Ruan Transportation, SACV 12-0688 AG ANX (C.D. Cal. Aug. 16,
  8 2013) which held that plaintiffs’ compensation claims based on California’s
  9 minimum wage law are preempted because they are “related to a price.” The
 10 Burnham Court concluded that “[c]hanges to price at the margin are economically
 11 significant” and that changing an “‘activity-based’ Compensation Plan to hourly
 12 pay, or another system . . . would affect labor costs, as well as … overall costs.”
 13 The Burnham Court concluded: “Any other ruling would thwart the legislative
 14 intent of ‘maximum reliance on competitive market forces, thereby stimulating
 15 efficiency, innovation, and low prices, as well as variety and quality.’”
 16           Here too, Plaintiffs’ theory that Defendant must pay the required statutory
 17 minimum hourly wage for tasks other than driving would inevitably impact labor
 18 costs and prices. Changes to the compensation system paid to Defendant’s drivers,
 19 whether by additional payments or a change from piece rate to an hourly wage
 20 would directly affect labor costs and pricing. No summary judgment type analysis
 21 is required because the scope of preemption is broad and “if a state law is preempted
 22 as to one carrier, it is preempted as to all carriers.” Thus, consistency in preemption
 23 mandates dismissing Plaintiffs’ first cause of action for alleged minimum wage
 24 violations and all derivative causes of action, including: fourth (alleged failure to
 25 timely furnish accurate itemized wage statements under Lab. Code §226(a)); sixth
 26 (failure to timely pay all earned final wages under Lab. Code §§ 201-203); seventh
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  1 (unfair competition under Cal. Bus. & Prof. Code §§ 17200, et seq.); and eighth
  2 (PAGA penalties Lab. Code §2698 et. seq).
  3                           II.    RELEVANT BACKGROUND
  4 A.        Plaintiffs’ Claims
  5           Plaintiff John Burnell filed this action on March 22, 2010 on behalf of all
  6 current and former employee drivers employed in California within the last four
  7 years. (Declaration of Paul Cowie (“Cowie Decl.”) ¶ 2.) On October 6, 2010,
  8 Plaintiff amended his Complaint to add Jack Pollock as a named Plaintiff. On
  9 August 27, 2013, Plaintiffs amended their Complaint to add Gilbert Saucillo as a
 10 named Plaintiff, and to dismiss Jack Pollock as a named Plaintiff. Plaintiffs’ Second
 11 Amended Complaint alleges eight causes of action on behalf of themselves and the
 12 putative class: (1) unpaid minimum wage pursuant to Sections 204, 223, 1194, 1197
 13 and 1198 of the California Labor Code, (2) failure to provide meal and rest periods
 14 pursuant to Sections 226.7 and 512 of the California Labor Code; (3) failure to
 15 indemnify and reimburse business expenses pursuant to Section 2802 of the
 16 California Labor Code; (4) failure to timely furnish accurate itemized wage
 17 statements pursuant to Section 226(a) of the California Labor Code; (5) unlawful
 18 payment instruments pursuant to Section 212(a) of the California Labor Code;
 19 (6) failure to timely pay all earned final wages pursuant to Section 203 of the
 20 California Labor Code; (7) unfair competition pursuant to Section 17200 of the
 21 California Business and Professions Code (“UCL”) and (8) civil penalties pursuant
 22 to Section 2698 of the California Labor Code (“PAGA”). (Cowie Decl. ¶ 3).
 23           On April 9, 2013, Defendant moved for judgment on the pleadings as to
 24 Plaintiffs’ meal and rest break claims on the basis that they are preempted by the
 25 Federal Aviation Administration Authorization Act of 1994 (“FAAAA”) as a matter
 26 of law. This Court granted Defendant’s Motion and dismissed Plaintiff’s Second
 27 Cause of Action. This Court also found that Plaintiffs were not entitled to recover
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  1 on their fourth, sixth, seventh, and eighth claims to the extent that these claims were
  2 based on misconduct alleged in the second claim. (Cowie Decl. ¶ 4 Docket #82.).1
  3 B.        Swift’s Operations And The Piece-Rate Compensation System
  4           Swift is one of the largest truckload motor carrier services in the world
  5 providing transportation services on a national and international basis. Swift’s
  6 customers are located throughout the country and Swift employs drivers to deliver
  7 property to its customers. Swift’s drivers regularly transport goods in interstate
  8 commerce and is a motor carrier subject to the Department of Transportation
  9 regulation, including the federal Hours of Service (“HOS”) Regulations.
 10           The trucking industry has relied on the mileage-based compensation system
 11 for decades as a means by which to drive competition. (“customary in the
 12 transportation industry” to compensate truck drivers upon mileage basis). Plaintiffs
 13 are paid according to a piece rate mileage-based compensation system, which
 14 Plaintiffs challenge as unlawful. (See, for example, Second Amended Complaint ¶¶
 15 40-41 – “Defendants maintained a practice of refusing to pay hourly rates of at least
 16 the state-mandated minimum wage for time spent . . . doing activities that include:
 17 Driving miles in excess of the estimated miles for which they were paid; Performing
 18 pre- and post-trip inspections; Fueling vehicles; Hooking and unhooking empty
 19 trailers.”) Plaintiffs’ theory is that it is unlawful to pay commercial truck drivers by
 20 the mile because that does not compensate drivers for essential tasks that must be
 21 performed by law or by necessity before any miles can be driven, such as fueling
 22 and DOT mandated pre- and post-trip inspections.
 23
 24
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      1
 26  A successive motion for judgment on the pleadings is permitted where, as here, a
    party is moving to dismiss a cause of action. Fed. R. Civ. Pro. 12(h)(2); Sprint
 27 Telephony PCS, L.P. v. County of San Diego, 311 F. Supp. 2d 898, 903 (S.D. Cal.
    2003).
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  1 C.        Procedural Status Of This Action And Meet And Confer Efforts
  2           On September 27, 2013, Defense counsel sent a letter to Plaintiffs’ counsel to
  3 meet and confer regarding this proposed Motion. (Cowie Decl. ¶ 5, Exh. A.) In that
  4 letter Defense counsel explained:
  5           We believe that Plaintiffs’ minimum wage claims are preempted by the
              Federal Aviation Administration Authorization Act 1994 (FAAAA).
  6           Specifically, the issue was recently addressed by the Central District of
              California in Burnham v. Ruan Transportation, SACV 12-0688 AG
  7           ANX (C.D. Cal. Aug. 16, 2013), which granted summary judgment on
              the grounds that the FAAAA preempted Plaintiffs’ meal and rest break
  8           claims, as well as their minimum wage and overtime claims. Id. at slip
              op., pp. 7-10. The Court “join[ed] the growing number of district
  9           courts that have found that California’s meal and rest break laws are
              preempted by the FAAAA,” including Judge Phillip’s decision in Cole
 10           v. CRST, Inc., EDCV 08-1570-VAP OPX, 2012 WL 4479237 (C.D.
              Cal. Sept. 27, 2012).
 11
              Additionally, the Burnham Court applied the same rationale to
 12           conclude that plaintiffs’ minimum wage claims were also preempted.
              Citing to Rowe v. New Hampshire Motor Transp. Ass’n, 552 U.S. 364,
 13           371 (2008) and Morales v. Trans World Airlines, Inc., 112 S.Ct 2031,
              2031 (1992)).
 14
 15           On October 11, 2013, the parties held a conference of counsel to meet and
 16 confer about this Motion in accordance with Central District Local Rule 7-3.
 17 (Cowie Decl. ¶ 6). During the conference, Defense counsel asked Plaintiffs’
 18 counsel to stipulate to dismiss Plaintiffs’ minimum wage claims and any derivative
 19 claims. The parties discussed Judge Guilford’s decision in Burnham and the fact
 20 that the same conclusion should be reached in this case. Thus, a stipulation to
 21 dismiss would avoid wasted costs, fees and judicial resources associated with this
 22 Motion. Defendant indicated its intent to file a Motion for Judgment on the
 23 Pleadings if Plaintiffs did not agree to dismiss their minimum wage claims.
 24 Plaintiffs’ refused to dismiss their minimum wage and derivative claims primarily
 25 asserting that FAAAA preemption was a matter for summary judgment. Id.
 26           Thereafter, the parties further met and conferred about Defendant’s Motion
 27 for Judgment on the Pleadings and also agreed that in light of Defendant’s proposed
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  1 Motion it was in the interests of judicial economy to stipulate to vacate the class
  2 certification briefing schedule because if Defendant’s Motion was successful it
  3 would make certain discovery unnecessary, including out-of-state depositions.
  4 (Cowie Decl. ¶ 7). The stipulation to vacate the class certification briefing schedule
  5 was filed at Docket # 111 and the Court’s Order granting that stipulation was issued
  6 on November 6, 2013 at Docket # 112.
  7                                III.   LEGAL STANDARD
  8           A motion for judgment on the pleadings is a vehicle for summary
  9 adjudication, but the standard is like that of a motion to dismiss. Hishon v. King &
 10 Spalding, 467 U.S. 69, 73, 104 S.Ct. 2229, 81 L.Ed.2d 59 (1984); Dworkin v.
 11 Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989). It is “functionally
 12 identical” to a motion to dismiss for failure to state a claim; the only significant
 13 difference is that a motion for judgment on the pleadings is properly brought “after
 14 the pleadings are closed-but early enough not to delay trial.” Fed. R. Civ. P. 12(c);
 15 Dworkin, 867 F. 2d at 1192; see William W. Schwarzer, A. Wallace Tashima &
 16 James M. Wagstaffe, Federal Civil Procedure Before Trial § 9:319–323. See Cole
 17 at *5-6.
 18           This issue is ripe for determination on the pleadings because the fact of
 19 preemption means that Plaintiffs have failed to state a claim. “Where a State law
 20 claim is preempted by federal law, that claim must be dismissed for failure to state a
 21 claim because the claimant cannot prove any set of facts that will support the claim
 22 for relief.” Chamberlan v. Ford Motor Co., 314 F. Supp. 2d 953, 956 (N.D. Cal.
 23 2004) (citing Kent v. Daimlerchrysler Corp., 200 F. Supp. 2d 1208, 1212 (N.D. Cal.
 24 2002)); see also Jasso v. Citizens Telecomms. Co. of Cal., Inc., 2007 U.S. Dist.
 25 LEXIS 54866, 14 (E.D. Cal. July 30, 2007).
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  1                                      IV.    ARGUMENT
  2 A.        Scope of the FAAAA’s Preemption Clause.
  3           Federal preemption occurs when either: “(1) a Congressional statute explicitly
  4 preempts state law, (2) state law actually conflicts with federal law, or (3) federal
  5 law occupies a legislative field to such an extent that one can reasonably conclude
  6 that Congress left no room for state regulation in that field.” Campbell v. Vitran
  7 Express, Inc., 2012 WL 2317233, at *2 (C.D. Cal. June 8, 2012). The FAAAA
  8 states that: “[A] State ... may not enact or enforce a law ... related to a price, route,
  9 or service of any motor carrier ... with respect to the transportation of property.” 49
 10 U.S.C. § 14501(c)(1). The Supreme Court has identified four principles applicable
 11 to preemption by the FAAAA:
 12           (1) that “[s]tate enforcement actions having a connection with, or
              reference to” carrier “ ‘rates, routes, or services’ are pre-empted,” ... (2)
 13           that such pre-emption may occur even if a state law’s effect on rates,
              routes or services “is only indirect,” ... (3) that, in respect to pre-
 14           emption, it makes no difference whether a state law is “consistent” or
              “inconsistent” with federal regulation, ... (4) that pre-emption occurs at
 15           least where state laws have a “significant impact” related to Congress’
              deregulatory and pre-emption related objectives.
 16
 17 Rowe v. New Hampshire Motor Transport Ass'n, 552 U.S. 364, 370–71, 128 S. Ct.
 18 989, 169 L. Ed. 2d 933 (2008), quoting Morales v. Trans World Airlines, Inc., 504
 19 U.S. 374, 112 S. Ct. 2031, 119 L. Ed. 2d 157 (1992); Dilts v. Penske, 819 F.Supp.2d
 20 1109 (S.D. Cal. 2011), appeal docketed, No. 128 (9th Cir. Apr. 18, 2012); Esquivel
 21 v. Vistar Corp., 2012 WL 516094, at *4 (C.D. Cal. Feb. 8, 2012).
 22           The FAAAA was introduced to level the playing field between the trucking
 23 industry and the airline industry, which in 1978 implemented the Airline
 24 Deregulation Act (“ADA”) to preempt state regulation “relating to rates, routes or
 25 services” of an air carrier. 49 U.S.C. § 41713(b)(1); Morales 504 U.S. at 378-379.
 26 The purpose of the ADA was to eliminate the “patchwork” of state regulations to
 27 allow “competitive market forces” to best further “efficiency, innovation and low
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  1 prices.” Morales 504 U.S. at 378. In enacting the FAAAA, Congress intended to
  2 preempt state regulation of the trucking industry in the same way as it had
  3 preempted the airline industry under the ADA. Rowe, 552 U.S. 364, 368
  4 (explaining that the ADA and FAAAA are subject to the same analysis because both
  5 contain identical preemption provisions). See Miller v. Southwest Airlines, Co.
  6 2013 WL 556963 (N.D. Cal. February 12, 2013) at *5.
  7           Moreover, FAAAA preemption is broad because it prohibits state laws that
  8 have a “connection with, or reference to” carrier “rates, routes, or services” even
  9 where such laws only have an indirect effect. Rowe, 552 U.S. 364, 370 (quoting
 10 Morales, 504 U.S. at 384). See also Cole at *9-10. FAAAA preemption carries an
 11 “expansive sweep . . . conspicuous for its breadth” because it means “to stand in
 12 some relation; to have bearing or concern; to pertain; refer; to bring into association
 13 with or connection with.” Morales, supra, 504 U.S. at 383. The Ninth Circuit has
 14 confirmed this broad preemption: “[t]here can be no doubt that when Congress
 15 adopted the [FAAAA] it intended to broadly preempt state laws that were ‘related to
 16 a price, route or service’ of a motor carrier.” American Trucking Ass’ns, Inc. v. City
 17 of Los Angeles, 559 F.3d 1046, 1053 (9th Cir. 2009).
 18           Critically, as affirmed by the U.S. Supreme Court: “if a state law is
 19 preempted as to one carrier, it is preempted as to all carriers.” New Hampshire
 20 Motor Transport Ass’n v. Rowe, 448 F.3d 66, 72 (1st Cir. 2006), aff’d Rowe, 552
 21 U.S. 364. As discussed below, this broad preemption should result in dismissal of
 22 Plaintiffs’ minimum wage claims and all derivative claims just as it has done with
 23 respect to Plaintiffs’ meal and rest break claims.
 24 B.        California Minimum Wage Laws Are Preempted As Applied To Mileage-
 25           Based Piece Rate Compensation Systems.
 26           This exact issue was recently addressed by Judge Guilford in Burnham v.
 27 Ruan Transportation, SACV 12-0688 AG ANX (C.D. Cal. Aug. 16, 2013), which
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  1 found plaintiff truck drivers’ minimum wage claims were preempted by the
  2 FAAAA. Id. at slip op., pp. 7-10. The Court “join[ed] the growing number of
  3 district courts that have found that California’s meal and rest break laws are
  4 preempted by the FAAAA,” including this Court’s decision in Cole v. CRST, Inc.,
  5 EDCV 08-1570-VAP OPX, 2012 WL 4479237 (C.D. Cal. Sept. 27, 2012), as well
  6 as the instant case. Id. at *7. Additionally, the Burnham Court applied the same
  7 rationale to conclude that plaintiffs’ minimum wage claims were also preempted by
  8 the FAAAA. Citing to Rowe v. New Hampshire Motor Transp. Ass’n, 552 U.S. 364,
  9 371 (2008) and Morales v. Trans World Airlines, Inc., 112 S.Ct 2031, 2031 (1992))
 10 Judge Guilford held that:
 11           The minimum wage laws that form the basis of Plaintiffs’
              Compensation Claims are “related to a price” of Defendant’s services.
 12           Changes to price at the margin are economically significant. This Court
              finds that changing Defendant’s “activity-based” Compensation Plan to
 13           hourly pay, or another system that might be required under such laws,
              would affect labor costs, as well as Defendant’s overall costs. Any
 14           other ruling would thwart the legislative intent of “maximum reliance
              on competitive market forces, thereby stimulating efficiency,
 15           innovation, and low prices, as well as variety and quality.”
 16 Burnham at slip op., p 8 citing to Rowe, supra.
 17           The Court in Burnham relied upon “clear market principles” and held that:
 18 “The effects involved here, as with the Meal and Rest Break Claims, are more than
 19 ‘tenuous, remote, or peripheral.’” Burnham at slip op., *9 citing to Rowe, supra, 552
 20 U.S. at 371. As explained in Burnham, “labor costs are the single greatest expense
 21 that drives prices and rates” and a piece-rate compensation system “encourages
 22 efficiency and productivity.” Id. at 9.
 23           Additionally, the Burnham Court explained why that case, like the instant
 24 case, is distinguishable from the Ninth Circuit’s decision in Mendonca, 152 F.3d
 25 1184:
 26           In Mendonca, the court held that the effect of the California Prevailing
              Wage Law on public works contractors’ transportation-related prices,
 27           routes, and services was too “indirect, remote, and tenuous” to be
              preempted by the FAAAA. Id. at 1189 (citing Cal. Div. of Labor
 28           Standards Enforcement v. Dillingham Const., N.A., Inc., 519 U.S. 316
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  1           (1997)). Unlike Mendonca, this case involves a type of mileage- or
              activity-based compensation plan commonly used across a specific
  2           competitive industry, which ties the compensation in this case more
              closely to prices and the competitive market.
  3
  4 Burnham at slip op., p 10.
  5           Here too, Plaintiffs challenge Defendant’s mileage/activity-based
  6 compensation plan that is used across the same industry as that in Burnham v. Ruan.
  7 Thus, consistent with the Central District’s decision in Burnham, applying the
  8 Supreme Court’s reasoning in Rowe, Plaintiffs’ minimum wage claims in this case
  9 are also preempted.
 10           1.         Plaintiffs’ Minimum Wage Claims Are Related To Price
 11           The U.S. Supreme Court has held that the question for the courts is “whether
 12 the provision, directly or indirectly binds the carrier to a particular price, route or
 13 service and thereby interferes with competitive market forces within the industry.”
 14 Rowe, 552 U.S. at 371; ATA I, 660 F.3d 384, 397 (9th Cir. 2011)(emphasis added).
 15 Put simply, an increase in the amount paid to drivers will impact price. That is an
 16 inescapable fact as concluded by the Central District in Burnham.
 17           However, the impact of California’s minimum wage laws runs much more
 18 deeply because Plaintiffs’ theory purports to change the payment method used by
 19 trucking companies for decades, to require companies to pay drivers an hourly rate
 20 for tasks rather than a piece rate. The application of law sought by Plaintiffs is
 21 surely preempted by the FAAAA in an industry that relies on the piece-rate as it’s
 22 competitive driving force.
 23           Under the current piece rate system drivers are compensated based upon miles
 24 driven. Thus, drivers are incentivized to complete non-driving tasks as efficiently as
 25 possible and “keep the truck moving.” In an industry where drivers are out on their
 26 own, the entire system depends upon the ability to complete deliveries efficiently
 27 and on time because pricing models are based on cents per mile. Shotgun Delivery
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  1 v. United States, 269 F.3d 969, 970 (9th Cir. Cal. 2001) (customer billed primarily
  2 on the mileage from the pick-up to the delivery location). The piece rate mileage-
  3 based system maintains this equilibrium by compensating drivers in a like manner.
  4 If trucking companies were required to pay drivers for each individual task rather
  5 than as a piece the pricing model for the entire industry would be placed in jeopardy.
  6 For example, a customer ships a truckload of goods 400 miles at a price of $.50 per
  7 mile for a total cost of $200. The driver is then paid $.30 per mile or $120. If,
  8 however, the trucking company was required to separately pay the driver for fueling,
  9 pre- and post-trip inspections, hooking of trailers, the base-line cost input used to
 10 calculate the price would materially change. As stated By Judge Guilford in
 11 Burnham: “Changes to price at the margin are economically significant.” Burnham
 12 at slip op., p 8. It is common sense that interference with Defendant’s compensation
 13 system will impact price where a piece-rate system is the industry-standard method
 14 of payment. If, instead, as Plaintiffs’ assert, Defendant was required to pay
 15 separately for each task, labor costs would inevitably spiral directly impacting price.
 16 At a minimum, such changes would directly interfere with competitive market
 17 forces used to drive price thus: “thwart[ing] the legislative intent of “maximum
 18 reliance on competitive market forces, thereby stimulating efficiency, innovation,
 19 and low prices, as well as variety and quality.” Burnham at slip op., p 8 citing to
 20 Rowe, supra.
 21           Furthermore, Plaintiffs’ interpretation of California minimum wage laws
 22 would effectively bind carriers to hourly rates rather than the use of piece rates
 23 because it would be logistically impractical to pay a separate piece rate for every
 24 individual task, such as completing paperwork, fueling, pre- and post-trip
 25 inspections, hooking trailers, (many of which tasks are performed simultaneously),
 26 without in turn being accused of running afoul of California’s minimum wage laws.
 27 For example, if Defendant paid its drivers a flat rate of $4 to complete paperwork,
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  1 which usually takes only a few minutes, that would, however, violate California law
  2 if on any occasion it happened to take more than thirty minutes. The same is true
  3 for all such individual tasks. The only way to protect against such claims would be
  4 to pay an hourly rate. Alternatively, Defendant would be required to pay an inflated
  5 flat rate so as to avoid the risk of such minimum wage claims. This would be
  6 another increased cost that would impact Defendant’s prices.
  7           Thus, this is not simply a case of increased costs, which itself is sufficient to
  8 engage FAAAA preemption, but more specifically Plaintiffs argue that Defendant is
  9 required to change from a piece rate compensation system to an hourly paid system
 10 (at least in part). The compensation system, of course, dictates labor costs and
 11 affects pricing because any change to the piece rate system would discourage
 12 efficiency which is essential to this industry. Requiring Defendant to adjust its
 13 method of payment will inevitably interfere with competitive market forces where
 14 mileage-based pay is the industry standard for compensating drivers. For each of
 15 these reasons Plaintiffs’ minimum wage claims are related to price and are
 16 preempted.
 17           2.         Plaintiffs’ Minimum Wage Claims Effect Services
 18           The very basis for piece rate compensation systems is to encourage
 19 “efficiency and productivity.” Morrison v. United States Dep't of Labor, 713 F.
 20 Supp. 664, 674 (S.D.N.Y. 1989) (“Use of a piece-rate results in increased
 21 productivity over the use of an hourly wage”); Burnham at slip op., *9. Piece rates
 22 in the transportation industry encourage drivers to transport property efficiently in
 23 order to maximize production in a day to earn more money. The harder and faster
 24 drivers work—the more money they make. Without the incentive to work
 25 productively, as created by the piece rate system, service would be impacted as less
 26 deliveries would be made. Consequently, requiring trucking companies to pay
 27 separate hourly rates for enumerated tasks is likely to impact service as well as
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  1 price. Thus, Plaintiffs’ minimum wage claims are also preempted by the FAAAA
  2 because of the effect on services.
  3           3.         Wage Order 9 Applies Specifically to the Transportation Industry
  4           Plaintiffs’ minimum wage claims arise under Wage Order 9, Section 4, which
  5 sets the minimum wage for the transportation industry in California. “Transportation
  6 Industry” is defined as “any industry, business, or establishment operated for the
  7 purpose of conveying persons or property from one place to another whether by rail,
  8 highway, air, or water, and all operations and services in connection therewith.”
  9 Wage Order 9 Section 2(P). In Mendonca, the court found that a state prevailing
 10 wage law had an effect on motor carrier prices, routes, and services, and therefore
 11 was “related” to them. Californians for Safe & Competitive Dump Truck
 12 Transportation v. Mendonca, 152 F.3d 1184, 1189 (9th Cir. 1998). However,
 13 because the law applied to all employers equally, regardless of whether they were in
 14 the transportation industry, the court concluded the law was one of general
 15 applicability, and held it was not preempted because the effect on motor carrier
 16 prices, routes and services was only tenuous.
 17           Here, however, because Wage Order 9 specifically targets the transportation
 18 industry, it is not a law of general applicability such as the minimum wage statute in
 19 Mendonca. Rather the Wage Order targets businesses “operated for the purpose of
 20 conveying persons or property from one place to another,” which include motor
 21 carriers as defined by the FAAAA. Therefore, as held in Burnham, the Ninth
 22 Circuit’s decision in Mendonca is distinguishable and Plaintiffs’ minimum wage
 23 claims that rely upon Wage Order 9 are preempted.
 24 C.        California’s Minimum Wage Laws, Are Preempted As A Matter of Law
 25           Based upon the parties’ meet and confer efforts Defendant anticipates that
 26 Plaintiffs will argue that this issue can be resolved only through summary judgment
 27 type evidence. Indeed, Defendant understands that Plaintiffs will file a motion to
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  1 compel discovery of evidence allegedly needed to respond to this Motion.
  2 However, no such evidence is needed because: “if a state law is preempted as to
  3 one carrier, it is preempted as to all carriers.” New Hampshire Motor Transport
  4 Ass’n v. Rowe, 448 F.3d 66, 72 (1st Cir. 2006), aff’d Rowe, 552 U.S. 364.
  5           Although the court in Burnham decided this issue on summary judgment, that
  6 does not detract from the fact that: “if a state law is preempted as to one carrier, it
  7 is preempted as to all carriers.” Id. As recognized in Burnham “[e]ven if it is true
  8 that some other competitors use separate hourly compensation, Defendant would
  9 still face significant competition with the many competitors that continue to use
 10 mileage-based or activity-based compensation systems.” Burnham at *9. To hold
 11 that the FAAAA preempts California’s minimum wage as to only some trucking
 12 companies would inevitably interfere with competitive market forces by allowing
 13 rival companies to compete under different rules. Any other result would
 14 compromise the very purpose of the FAAAA to preserve competitive market forces.
 15           Indeed, to hold otherwise would create the very “patchwork of regulation”
 16 that the FAAAA was introduced to eradicate. “Congress enacted the FAAAA to
 17 preempt and eliminate burdensome state laws that affect the interstate trucking
 18 industry.” Aguiar v. California Sierra Exp., Inc., 2:11-CV-02827-JAM, 2012 WL
 19 1593202, *1 (E.D. Cal. May 4, 2012); see 49 U.S.C. § 14501. The FAAAA thus
 20 preempts laws that effectively “interfere[] with competitive market forces in the
 21 industry as to routes, services, or pricing.” Id., citing Am. Trucking Ass'ns, Inc. v.
 22 City of L.A., 660 F.3d 384, 397 (9th Cir. 2011). Competitive market forces could
 23 not drive “pricing” if carriers were held to different legal standards regarding their
 24 underlying costs. Thus, it is unnecessary and improper to determine the FAAAA
 25 preemption issue carrier-by-carrier. Rather, given that the Central District has
 26 already ruled that the FAAAA preempts minimum wage claims that relate to
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  1 “mileage- or activity-based compensation plan[s]” so too the same conclusion
  2 should be reached here without the need for summary judgment-type evidence.
  3           As explained in Cole: “no factual analysis is required to decide this question
  4 of preemption” because “evidence outside the pleadings . . . is not necessary to
  5 determine whether the Meal and Rest Break laws have an impact on prices, routes,
  6 or service.” Cole at *13-14. Rather, it is common sense that requiring a driver to
  7 stop every five hours, regardless of circumstance, to take an off-duty thirty-minute
  8 meal period and every four hours (or major fraction thereof), to take a ten minute
  9 rest break will impact the routes he can take, the services he can provide and
 10 ultimately price. Although, Cole discussed meal and rest break laws, the same
 11 rationale applies to minimum wage claims because as explained above, under
 12 Plaintiffs’ theory Defendant would effectively be limited in its choice of payment
 13 methods or at a minimum would be required to change its compensation system in a
 14 way that would directly impact price. Accordingly, Plaintiffs’ minimum wage
 15 claims are preempted as a matter of law.
 16 D.        Plaintiffs’ Derivative Claims are Preempted
 17           It is well-settled that because Plaintiffs’ minimum wage claims are
 18 preempted, any derivative claims must also fail. Leipart v. Guardian Indus., 234
 19 F.3d 1063, 1071 (9th Cir. Cal. 2000) (derivative claims only survive preemption if
 20 original claims survive). This was the conclusion reached in Burnham, Penske,
 21 Esquivel, Aguiar, Campbell and Cole, as well as this Court in dismissing Plaintiffs’
 22 meal and rest break claims. See Docket at # 82. Here too, the Court should dismiss
 23 all causes of action that are derivative of Plaintiffs’ minimum wage claims,
 24 including: fourth (alleged failure to timely furnish accurate itemized wage
 25 statements under Lab. Code §226(a)); sixth (failure to timely pay all earned final
 26 wages under Lab. Code §§ 201-203); seventh (unfair competition under Cal. Bus. &
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  1 Prof. Code §§ 17200, et seq.); and eighth (PAGA penalties Lab. Code §2698 et.
  2 seq).
  3                                  V.    CONCLUSION
  4           The District Court’s decision in Burnham should be applied here because
  5 changing the method of payment or requiring additional payments to drivers in the
  6 highly competitive trucking industry impacts labor costs and Defendant’s overall
  7 costs, thereby directly effecting price. Likewise, an interference with the piece rate
  8 compensation system used to incentivize drivers’ productivity would also negatively
  9 impact service. For each of these reasons, Defendant respectfully requests the Court
 10 to dismiss Plaintiffs’ first cause of action for alleged minimum wage violations and
 11 all derivative claims with prejudice because they are preempted by the FAAAA.
 12
 13
 14 Dated: November 11, 2013
 15                                  SHEPPARD, MULLIN, RICHTER & HAMPTON
 16                                  LLP

 17
 18                                  By                 /s/ Ronald J. Holland
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